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                              UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                       DEL RIO DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 V.                                                         CAUSE NO. DR-24-CR-00404-001
                                                 §
                                                 §
 JEREMY SCOTT ALLRED
                                                 §

                DEFENDANT’S MOTION TO REVOKE DETENTION ORDER

TO THE HONORABLE ALIA MOSES, CHIEF UNITED STATES DISTRICT JUDGE FOR
THE WESTERN DISTRICT OF TEXAS:

           COMES NOW Defendant Jeremy Scott Allred, by and through counsel, and files his

Motion to Revoke Detention Order. He further moves for a de novo hearing in this matter to

determine whether he should be granted pretrial release pending adjudication.

      I.      Background

      Mr. Allred is charged with possession of a firearm by a person who has been convicted of a

misdemeanor crime of violence pursuant to 18 U.S.C. § 922(g)(9). ECF No. 8. The Government

moved to detain Mr. Allred without bond. The magistrate court held a hearing on February 8,

2024, and the court found by a preponderance of the evidence that there was probable cause for

the offense. ECF No. 7. The Court also found by a preponderance of the evidence that Mr. Allred

poses a serious risk of flight and that his release would endanger the safety or any other person or

the community due to, “among other factors, the Defendant’s multiple law enforcement

encounters involving the possession of a firearm in short succession and the pending criminal

matters pertaining to the Defendant.” Id. The Court found that no conditions or combination of

conditions will reasonably assure the appearance of Mr. Allred as required or the safety of any

other person and the community and ordered the defendant detained. Id.
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   II.     Request for a de novo hearing


   A district judge has jurisdiction to review the order of a person ordered detained by a

magistrate judge. 18 U.S.C. § 3145(b). Such a review is de novo, with the district court making

“an independent determination of the proper pretrial detention or conditions for release.” United

States v. Fortna, 769 F.2d 243, 249 (5th Cir. 1985). The court may further consider “what the

magistrate has actually ordered with additional findings based on its independent consideration

of the record before the magistrate and the additional evidence adduced before it ‘as unfettered

as it would be if the district court were considering whether to amend its own action.’” Id. at 250

(quoting United States v. Thibodeaux, 663 F.2d 520, 522 (5th Cir. 1981)). Unlike a request for

reconsideration under 18 U.S.C. § 3142(f), a motion to revoke a detention order “does not

require that new information be available before a detention order can be reconsidered or

revoked.” United States v. Posada Carriles, 481 F. Supp. 2d 792, 795 (W.D. Tex. 2007) (citing

United States v. Cisneros, 328 F.3d 610, 614 (10th Cir. 2003)).

   III.    Standard for detention


   The Bail Reform Act directs that a judicial officer “shall order the pretrial release” of the

defendant “subject to the least restrictive further condition, or combination of conditions, that

such judicial officer determines will reasonably assure the appearance of the person as required

and the safety of any other person and the community.” 18 U.S.C. § 3142(c)(1)(B). Only certain

circumstances, which do not include the instant offense, carry with them a presumption of

detention. See 18 U.S.C. § 3142(e)(2). The fact that the Government has initiated its prosecution

does not permit a court to disregard a presumption of innocence and order a defendant detained

prior to a conviction without an exceptional basis for so doing. Thibodeaux, 663 F.2d at 522; see

Herrera v. Collins, 506 U.S. 390, 398 (1993) (“A person when first charged with a crime is
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entitled to a presumption of innocence, and may insist that his guilt be established beyond a

reasonable doubt.”).


       To justify an order of detention based on a defendant’s risk of flight, the Government

must establish by a preponderance of the evidence that no conditions or combination of

conditions will reasonably assure appearance. Fortna, 769 F.2d at 250. “[T]he standard is

reasonably assure appearance, not ‘guarantee’ appearance, and . . . detention can be ordered on

this ground only if no condition or combination of conditions will reasonably assure the

appearance.” Id. (internal quotation marks omitted). For detention based on a defendant’s

dangerousness, the Government must establish by clear and convincing evidence that “no

condition or combination of conditions will reasonably assure the safety of any other person and

the community.” 18 U.S.C. § 3142(f)(2); see also Fortna, 769 F.2d at 250 (requiring clear and

convincing evidence of dangerousness).

       The Bail Reform Act’s legislative history makes clear that detention based on serious risk

of flight is only appropriate under “extreme and unusual circumstances.” See Bail Reform Act of

1983: Rep. of the Comm. on the Judiciary, 98th Cong. 48 (1983). For example, the case relied on

in the legislative history was deemed extreme and unusual enough to justify detention on the

grounds of serious risk of flight because the defendant was a fugitive and serial impersonator

who had failed to appear in the past and had recently transferred over a million dollars to

Bermuda. United States v. Abrahams, 575 F.2d 3, 4 (1st Cir. 1978). The current case law

likewise deems pretrial detention on the basis of “serious risk of flight” only in “extreme and
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unusual circumstances” 1 proving the accused is “likely to willfully flee the jurisdiction with the

intention of thwarting the judicial process.” 2

          In addition, a defendant should not be detained as a “serious risk” of flight when the risk

of nonappearance can be mitigated by conditions of release. Scholars and courts agree that

electronic monitoring is especially effective at reducing risk of flight. See, e.g., Samuel R.

Wiseman, Pretrial Detention and the Right to the Monitored, 123 Yale L. J. 1344, 1347–48

(2014) (“Increasingly sophisticated remote monitoring devices have the potential to sharply

reduce the need for flight-based pretrial detention …. [T]he question of finding other ways of

ensuring a non-dangerous defendant's presence at trial is one not of ability, but of will….”); Id. at

1368-74 (citing studies in both European and American contexts to demonstrate that electronic

monitoring is at least as effective as secured bonds at deterring flight, and that it comes at far

reduced cost to both the defendant and the government); United States v. O’Brien, 895 F.2d 810,

814–16 (1st Cir. 1990) (describing reduction in flight rate from monitoring program and

concluding that “evidence concerning the effectiveness of the bracelet alone arguably rebuts the

presumption of flight”).

    IV.      Argument

    Mr. Allred should be released on conditions because the government did not establish that he

posed a “serious risk” of flight and did not present any evidence to establish that there is a

“serious risk that he will flee” the jurisdiction under § 3142(f)(2)(A). Although the defense bears



1
  See, e.g. United States v. Abrahams, 575 F.2d 3, 8 (1st Cir. 1978) (holding that only a “rare case of extreme and
unusual circumstances…justifies pretrial detention” – as representing the “current case law”); see also Gavino v.
MacMahon, 499 F.2d 1191, 1995 (2nd Cir. 1974) (holding that in a noncapital case the defendant is guaranteed the
right to pretrial release except in “extreme and unusual circumstances) United States v. Kirk, 534 F.2d 1262, 1281, 2
Fed. R. Evid. Serv. 206 (8th Cir. 1976) (holding that bail can only be denied “in the exceptional case.”) (rejected on
other grounds by Khaalis v. United States, 408 A.2d 313 (D.C. 1979)) and vacated in part on other grounds, 723
F.2d 1379 (8th Cir. 1983).
2
  See, e.g., Lauryn Gouldyn, Defining Flight Risk, 85 U. Chi. L. Rev. 677, 724 (2017).
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no burden of proof, it is clear from Mr. Allred’s history and characteristics that he does not pose

any risk of flight, let alone a serious risk of flight.

    Mr. Allred does not present a serious risk of flight because he has strong ties to the

community. He is a United States citizen, and he has numerous family members in the area,

including wife and children. He was working at a local ranch prior to his incarceration, and he he

will be able to return to his job upon his release.

    Mr. Allred has absolutely has never failed to appear in court for any reason. He has a stable

residence in at his place of employment. There is no reason to believe that he will fail to appear

for any reason.

    Mr. Allred presents none of the “extreme and unusual” circumstances meriting pretrial

detention, and he should, therefore, be released on conditions. Looking to the 18 U.S.C. §

3142(g) factors, it is clear that conditions can be fashioned that will “will reasonably assure [Mr.

Allred’s] appearance…as required and the safety of any other person and the community.”

    In addition to not being a serious risk of flight, Mr. Allred does not pose a danger to the

community. Further, the government has not established that there are no commination of

conditions that will “reasonably assure…the safety of any other person and the community.” 18

U.S.C. § 3142(c)(1)(B). The magistrate court based its finding that Mr. Allred posed a danger to

the community on his recent encounters with law enforcement involving the possession. Those

encounters did not involve instances of brandishing or firearm of a weapon, but instead involved

mere possession.

    Detention pending trial is not warranted in this case. There are conditions that will

reasonably assure Mr. Allred will appear as required and reasonably assure the safety of the
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community. Mr. Allred respectfully requests his release or, in the alternative, for the case to be

set for a de novo hearing.

   V.      Conclusion

   Mr. Allred respectfully requests this Court revoke his detention order or set this case for a de

novo detention hearing.

                                              Respectfully submitted.

                                              MAUREEN SCOTT FRANCO
                                              Federal Public Defender



                                              __________________________________
                                              /s/ JAIME J. ZAMPIEROLLO
                                              Assistant Federal Public Defender
                                              Western District of Texas
                                              2205 Veterans Blvd., Ste. A-2
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                                              (830) 703-2040
                                              (830) 703-2047 (FAX)
                                              Bar Number: Texas 24106735

                                              Attorney for Defendant
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of June, 2024, I electronically filed the foregoing

Defendant’s Motion to Revoke Detention Order with the Clerk of Court using the CM/ECF system

which will send notification of such filing to the following:

Joshua Jerome Garland
Assistant U.S. Attorney
111 E Broadway St., Ste. A300
Del Rio, TX 78840


                                              /s/ JAIME J. ZAMPIEROLLO
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                           UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
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                                                §


                                          ORDER
       On this date came on to be considered the Defendant’s Motion for Revocation of

Detention Order (ECF No. ___), and the Court having considered the premises, is of the opinion

that the same should be and is hereby GRANTED.

       It is therefore ORDERED that as follows:

       (1) that the Order Granting Motion to Detain (ECF No. 7) be REVOKED;

       (2) and that Defendant be RELEASED from pretrial detention subject to conditions to be

          established by separate order of this Court; and, to the extent necessary;

       (3) that the above-captioned case be SET for a detention hearing on ________________,

          2024, at ________ a.m./p.m.;



       SIGNED AND ENTERED this ________ day of _____________________ , 2024


                                            ______________________________________
                                            ALIA MOSES
                                            CHIEF UNITED STATES DISTRICT JUDGE
